Filed 8/27/24 In re J.F. CA4/3




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
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         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                               DIVISION THREE


 In re J.F. et al., Persons Coming
 Under the Juvenile Court Law.

 ORANGE COUNTY SOCIAL
 SERVICES AGENCY,
                                                                        G063806
       Plaintiff and Respondent,
                                                                        (Super. Ct. Nos. 23DP1304 &amp;
           v.                                                           23DP1305)

 E.F.,                                                                  OPINION

       Defendant and Appellant.



                   Appeal from an order of the Superior Court of Orange County,
June Jee An, Judge. Reversed.
                   Tracy M. De Soto, under appointment by the Court of Appeal, for
Defendant and Appellant.
                   Leon J. Page, County Counsel, and Debbie Torez and Aurelio
Torre, Deputy County Counsel, for Plaintiff and Respondent.
            E.F. (Father) appeals from the juvenile court’s order sustaining
jurisdiction to his 17-year-old son J.F. and ordering him removed from his
custody. Father argues insufficient evidence supported both findings.
Because we agree there was insufficient evidence to support the jurisdictional
finding, we need not address his other contention. We reverse the order.
                                    FACTS
I. Detention and Petition
            Police arrested Father for sexually abusing his 15-year-old
daughter, A.F. Police took A.F. and J.F. (collectively children or minors) into
custody. It was alleged that Father sexually abused A.F. on two occasions in
August 2023. On the first occasion, Father rubbed A.F.’s vagina over her
clothes while she slept. On the second occasion, while A.F. slept, Father
squeezed her buttocks and rubbed her vagina with his thumb. Father tried to
put his hand down her leggings but they were too tight. On both occasions,
Father stopped when J.F. walked into the bedroom they all shared. A.F.
disclosed the abuse to her paternal aunt, C.F., who also lived there.
            Father said A.F. reminded him of the children’s mother M.F.
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(Mother) and admitted he may have “quickly” touched her genitals. J.F.
denied Father sexually abused him or that he knew Father sexually abused
A.F. A.F. stated Father knew that both his father and brother had sexually
abused her and “it hurts [her] heart” Father did the same.
            In the detention report, the Orange County Social Services
Agency (SSA) stated it was concerned Father will continue to sexually abuse


1
            Mother moved out of the house 10 years earlier and had not had
any contact with the children for six years. Mother did not appeal, and we
discuss her only when necessary.


                                       2
A.F., “and/or” J.F., which could result in emotional trauma. The children
were placed at Orangewood Children and Family Center.
             SSA filed a petition as to A.F. and J.F. The petition alleged
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Father failed to protect both children (Welf. &amp; Inst. Code, § 300, subd. (b)),
sexually abused A.F. (§ 300, subd. (d)), and abused a sibling as to J.F. (§ 300,
subd. (j)). The juvenile court ordered the children detained.
II. Jurisdiction and Disposition
A. Reports
             In its jurisdiction/disposition report, SSA stated Father’s criminal
case was proceeding. The children remained at Orangewood.
             The social worker reported that Mother said J.F. was depressed
and wanted to leave Orangewood. When the social worker asked J.F. why he
was not in Father’s care, he said because Father did something inappropriate
to A.F. When she asked how the case should be resolved, J.F. said, “I just
don’t know,” “he only sometimes felt comfortable in Father’s care,” and “he
was still debating.”
             Weeks later, J.F. told the social worker he wanted to leave
Orangewood, and the social worker reported he was “guarded” about the
allegations. The social worker reported J.F. ran away from Orangewood the
previous weekend. J.F. told her that he wanted to live with C.F.
             The social worker reported that J.F. cried during one 30-minute
visit with Father. She stated that after another visit, J.F. said he enjoyed
visits with Father and wanted to continue them.




2
            Undesignated statutory references are to the Welfare and
Institutions Code.

                                        3
             Father told the social worker that he would move out of the
residence so the children could live with C.F. Both children told the social
worker they wanted to live with C.F. Later, the social worker confirmed that
C.F. was approved for placement and the children would be placed with her
the following week.
B. Hearing
             At the multi-day hearing, the juvenile court admitted the SSA
reports and heard argument. Minors’ counsel informed the court that J.F.
was open to reunifying with Father. Minors’ counsel later told the court that
J.F. said he would “maybe” be comfortable living with Father. Father
objected as to any jurisdictional findings and argued J.F. would not be at
substantial risk in Father’s care because he was not a victim of abuse and he
was almost 18 years old. He also requested that if the court were to order J.F.
removed, SSA should retain discretion to allow him to return home to Father
if appropriate. SSA contended the court should sustain an amended
jurisdictional petition as to both minors and to remove them from parental
custody with reunification services for J.F.
             With respect to J.F., the juvenile court sustained the amended
jurisdictional petition under section 300, subdivisions (b)(1) and (j). Relying
on In re I.J. (2013) 56 Cal.4th 766 (I.J.) and In re Karen R. (2001)
95 Cal.App.4th 84 (Karen R.), the court opined J.F. was at a risk of harm. The
court declared J.F. a dependent, found that removal from parental custody
was necessary, granted reunification services to both parents, and granted




                                        4
SSA the discretion to return J.F. to Father’s care if deemed appropriate.
                                                             3
Father appealed from the court’s February 7, 2024, order.
                                    DISCUSSION
            Father argues insufficient evidence supported the juvenile court’s
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jurisdictional finding as to J.F. We agree.
            Section 300 states the juvenile court may exercise jurisdiction
over any child who comes within any one of several descriptions. Subdivision
(b) of that section describes a child who has suffered or is at substantial risk
of suffering serious physical harm as a result of the failure or inability of his
parent to supervise or protect the child. Subdivision (j) of that section applies
if (1) the child’s sibling has been abused or neglected as defined and (2) there
is a substantial risk that the child will be abused or neglected as defined.
            “‘In reviewing a challenge to the sufficiency of the evidence
supporting the jurisdictional findings and disposition, we determine if
substantial evidence, contradicted or uncontradicted, supports them. “In
making this determination, we draw all reasonable inferences from the
evidence to support the findings and orders of the dependency court; we
review the record in the light most favorable to the court’s determinations;
and we note that issues of fact and credibility are the province of the trial


3
             While the matter was pending in this court, SSA submitted a
motion to vacate submission, a request for judicial notice, and a motion to
dismiss. SSA requests we take judicial notice of juvenile court records from a
hearing on August 1, 2024, a hearing that occurred after the February 7,
2024, order Father appealed from. Because all of the documents submitted
with SSA’s request for judicial notice reflect actions that occurred after the
dispositive order, they are not properly before us. What is before us is the
court’s February 7, 2024, order.
4
            Father does not argue the juvenile court erred as to A.F.

                                        5
court.” [Citation.] “We do not reweigh the evidence or exercise independent
judgment, but merely determine if there are sufficient facts to support the
findings of the trial court. [Citations.] ‘“[T]he [appellate] court must review
the whole record in the light most favorable to the judgment below to
determine whether it discloses substantial evidence . . . such that a
reasonable trier of fact could find [that the order is appropriate].”’ [Citation.]”
[Citation.]’ [Citation.]” (I.J., supra, 56 Cal.4th at p. 774.)
             In I.J., supra, 56 Cal.4th at page 771, our Supreme Court
addressed the issue we face here, the court’s exercise of jurisdiction over the
victim’s siblings. In that case, the father had repeatedly sexually abused his
teenage daughter over the course of three years. (Ibid.) The abuse included
fondling, digital penetration of the child’s vagina, oral copulation of the
child’s vagina, forcing the child to watch pornographic videos with the father,
and forcible rape. (Ibid.) The court opined the father’s behavior was
“‘aberrant in the extreme.’” (Id. at p. 778.) The court noted “section 300 does
not require that a child actually be abused or neglected before the juvenile
court can assume jurisdiction.” (Id. at p. 773.) Instead, there need only be a
“‘substantial risk’” of abuse or neglect. (Ibid.)
             The I.J. court explained that juvenile courts are to consider “‘the
totality of the circumstances of the child and his or her sibling in determining
whether the child is at substantial risk of harm,’” including “‘the
circumstances surrounding the abuse or neglect of the sibling, the age and
gender of each child, the nature of the abuse or neglect of the sibling, the
mental condition of the parent or guardian, and any other factors the court
considers probative in determining whether there is a substantial risk to the
child.’” (I.J., supra, 56 Cal.4th at p. 774, quoting § 300, subd. (j).) Courts also
may consider the egregiousness of the abuse and the “violation of trust”

                                          6
shown by sexually abusing one child “while . . . other children [are] living in
the same home and could easily have learned of or even interrupted the
abuse.” (Id. at p. 778.) “[A]fter considering the nature and severity of the
abuse and the other specified factors, the juvenile court is . . . to use its best
judgment to determine whether or not the particular substantial risk exists.”
(Id. at p. 779.) The court stated the following: “‘[S]exual or other serious
physical abuse of a child by an adult constitutes a fundamental betrayal of
the appropriate relationship between the generations. . . . When a parent
abuses his or her own child, . . . the parent also abandons and contravenes
the parental role. Such misparenting is among the specific compelling
circumstances which may justify state intervention, including an interruption
of parental custody. [Citation.]’ [Citation.]” (I.J., supra, 56 Cal.4th at p. 778.)
            The I.J. court concluded the “serious and prolonged nature” of the
father’s sexual abuse of his 14-year-old daughter placed the girl’s three
brothers (12-year-old twins and an eight-year-old) at risk of harm, as defined
by section 300, subdivision (j), even though none of the boys was mistreated,
and none had witnessed nor been aware of the father’s sexual abuse. (I.J.,
supra, 56 Cal.4th at pp. 771, 778.) The court cautioned, however, against an
overbroad interpretation of its decision: “In upholding the assertion of
jurisdiction in this case, we are not holding that the juvenile court is
compelled, as a matter of law, to assume jurisdiction over all the children
whenever one child is sexually abused. We merely hold the evidence in this
case supports the juvenile court’s assertion of jurisdiction.” (I.J., supra,
56 Cal.4th at p. 780, citing In re Jordan R. (2012) 205 Cal.App.4th 111, 137–
139 [upholding juvenile court’s refusal to assert jurisdiction].)
            In Karen R., supra, 95 Cal.App.4th at page 87, the father raped
and beat his daughter while his son was in the house. The issue was whether

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the son could be found a dependent child of the court under section 300,
subdivision (d). (Id. at p. 89.) That court held: “While no act of sexual abuse
occurred in [the son’s] presence, the abuse that did take place in [the son’s]
presence clearly was sufficient to warrant the conclusion that a normal child
in [the son’s] position would have been greatly disturbed and annoyed at
having witnessed these events. Thus, the juvenile court properly could
conclude [the son] personally had been the victim of child molestation and
thus had been sexually abused within the meaning of section 300, subdivision
(d). [Citation.]” (Karen R., supra, 95 Cal.App.4th at p. 90.) The court added:
“[W]e conclude a father who has committed two incidents of forcible
incestuous rape of his minor daughter reasonably can be said to be so
sexually aberrant that both male and female siblings of the victim are at
substantial risk of sexual abuse within the meaning of section 300,
subdivision (d), if left in the home. . . . Although the danger of sexual abuse of
a female sibling in such a situation may be greater than the danger of sexual
abuse of a male sibling, the danger of sexual abuse of the male sibling is
nonetheless still substantial.” (Id. at pp. 90–91.)
            Here, at the outset, we must articulate the focus of our review.
I.J., supra, 56 Cal.4th at pages 773–774, concerned subdivision (j) of section
300. Karen R., supra, 95 Cal.App.4th at page 89, concerned subdivision (d) of
section 300. In making its ruling here, the juvenile court cited to these cases
in exercising jurisdiction pursuant to subdivisions (b) and (j). Unfortunately,
the court did not articulate the basis for its ruling. Although relying
primarily on I.J., which concerned subdivision (j), the court here did not
discuss that subdivision’s circumstances, as the I.J. court did. (See I.J.,
supra, 56 Cal.4th at p. 778.) Neither I.J. nor Karen R. concerned subdivision
(b). County counsel asserts that the same reasons supporting exercise of

                                        8
jurisdiction pursuant to subdivision (j) supports jurisdiction as to subdivision
(b). Thus, our review hinges entirely on the similarity of the facts of this case
to I.J., and to a lesser extent, Karen R. Having detailed at length the facts of
I.J. and Karen R., there can be no doubt the cases are factually dissimilar to
the facts here.
            Father’s abuse of A.F. was neither prolonged nor as severe. In
I.J., the sexual abuse involved fondling, digital penetration, oral copulation,
compelled viewing of pornographic videos, and forcible rape over the course of
three years. In Karen R., the sexual abuse involved forcible rape on two
occasions months apart. Here, by contrast, the sexual abuse involved Father
rubbing A.F.’s genitals over her clothing and trying, but failing, to put his
hands down her leggings. A.F. did not allege Father exposed his penis or
penetrated her. Father’s rubbing the fully clothed A.F. and attempting to put
his hand down her leggings was nothing like the “serious and prolonged”
abuse committed in I.J. or the “incidents of forcible incestuous rape” in Karen
R. As repugnant as Father’s conduct was, it does not rise to the level of
abhorrent abuse in I.J. and Karen R. (I.J., supra, 56 Cal.4th at p. 778
[prolonged and egregious sexual abuse fundamental betrayal of parental
role].) As the I.J. court recognized, “If the sibling abuse is relatively minor,
the court might reasonably find insubstantial a risk the child will be
similarly abused.” (I.J., supra, 56 Cal.4th at p. 778.)
            Other circumstances lead us to the conclusion J.F. was not at risk
of sexual abuse. Father admitted to touching 15-year-old A.F. because she
reminded him of Mother (Father married Mother when she was 15 years old).
Needless to say, this could not be said of J.F. who is male and almost 18 years
old. Additionally, J.F. denied Father attempted to touch him. Although J.F.
shared a bedroom with Father and A.F. and walked into the room when

                                         9
Father was touching A.F., J.F. stated he was unaware of the two incidents.
J.F. never expressed he was concerned of being abused. Admittedly, J.F. gave
statements somewhat inconsistent concerning living with Father. At first, he
felt completely safe living with Father. At the hearing though, he answered,
“[M]aybe” when asked if he wanted to return to Father. That being said, J.F.
never expressed any fear of Father, and no one inquired further as to J.F.’s
relationship with Father.
            We are mindful of the juvenile court’s duty to focus on “ensur[ing]
the safety, protection, and physical and emotional well-being of children who
are at risk” of sexual abuse. (§ 300.2, subd. (a).) However, heeding the I.J.
court’s admonition against an overbroad interpretation of its decision, we
cannot conclude on this record Father’s limited sexual abuse of his 15-year-
old daughter constitutes evidence that his 17-year-old son is also at
                                            5
substantial risk of being sexually abused. Because the court erred by
concluding Father’s sexual abuse of A.F. by itself constituted substantial
evidence that J.F. was also at risk of being sexually abused, and based its
jurisdictional and dispositional order on only this evidence, the order is
reversed.




5
             County counsel is correct that section 355.1, subdivision (d), “does
not directly apply” here because Father has not suffered a sexual abuse
conviction.

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                               DISPOSITION
            The order is reversed.



                                          O’LEARY, P. J.

WE CONCUR:



MOORE, J.



GOODING, J.




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